
230 U.S. 512 (1913)
KNOTT ET AL., RAILROAD AND WAREHOUSE COMMISSIONERS,
v.
ST. LOUIS, KANSAS CITY AND COLORADO RAILROAD CO.
ST. LOUIS, KANSAS CITY AND COLORADO RAILROAD CO.
v.
KNOTT ET AL., RAILROAD AND WAREHOUSE COMMISSIONERS.
Nos. 347, 348.
Supreme Court of United States.
Argued April 1, 2, 3, 1912.
Decided June 16, 1913.
APPEAL AND CROSS-APPEAL FROM THE CIRCUIT COURT OF THE UNITED STATES FOR THE WESTERN DISTRICT OF MISSOURI.
Memorandum opinion by direction of the court.
BY MR. JUSTICE HUGHES. 
This suit was one of the eighteen suits described in the Missouri Rate Cases, ante, p. 474, decided this day. Upon the hearing below, as it appeared that the property of the St. Louis, Kansas City &amp; Colorado Railroad Company had been acquired by the Chicago, Rock Island &amp; Pacific Railway Company, it was ordered, by consent of the parties, that the suits of the two companies should be consolidated and that *513 the "findings, statements and figures as to both companies" should be put "in consolidated form as those of the Chicago, Rock Island &amp; Pacific Railway Company."
Separate decrees were entered in the two cases, and separate appeals and cross-appeals have been taken.
The same disposition must be made of both. (See Knott v. Chicago, Rock Island &amp; Pacific Railway Company, No. 345, sub Missouri Rate Cases, note p. 474, ante.) The decree below is therefore reversed and the cause is remanded with directions to dismiss the bill without prejudice.
It is so ordered.
